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Dear Chief Judge Boasberg:


   I am writing this letter to offer my sincere apology for unlawfully entering the United States Capitol
on January 6, 2021. In my 58 years I had never been arrested and I have a completely clean driving
record. I am a veteran of the US Marine Corps and was honorably discharged in 1987 and received
decorations for overseas deployment and good conduct during my service. It was never my intention
to break the law on that day. Despite what I believed were good intentions, I now realize that is
exactly what I did. I realize I was wrong and this was such a serious lapse of my characteristic good
judgment. I can pledge to you, to my family and friends and to myself that I will never allow myself to
repeat these actions. I realize how wrong I was and the pain and frustration this has caused for so
many. I have recognized my actions have caused incredible remorse and I regret my lack of
judgment. On a personal level, my knowledge and the potential ramifications of my participation has
increased my stress and anxiety. Beginning as early as fall 2021 I began to experience consistent
‘secondary screenings’ every time I flew, twice when I arrived at the airport (TSA screening and at the
gate). I was interviewed by the FBI in December 2021 and was fully cooperative and compliant with
them. I told them everything I could remember about that day and my actions. I wasn’t arrested on
that day but was left with the anticipation that one day, now knowing when, I likely would be. That
day finally came on September 20, 2023 when I was arrested by federal officers when I surrendered
to them in Omaha Nebraska. I have been on pre-trial supervision ever since and have been fully
compliant, even requesting and receiving court permission to travel to my boat in the Bahamas on
two occasions.


   Please understand I am not writing this in order to lessen the severity of this situation or to
influence your decision. What I have expressed has been in good faith. I just want the Court to hear in
my own words that I truly regret my actions on that day and vouch never to repeat them. I just want
to go back to being the law-abiding productive citizen I was before January 6th and have been since.
Thank you for taking the time to read this.


                                          Respectfully submitted,

                                          Don Pearston




                                                                                        Ex. 1
